Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.1 Page 1 of 16




              UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION


    Victoria Snyder,

          Plaintiff,
    v.                                        COMPLAINT

    United Collection Bureau, Inc.,
    an Ohio corporation,
                                       JURY TRIAL DEMANDED
          Defendant.


                           INTRODUCTION

   1.    This action arises out of Defendant’s violations of the

         Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §

         227, the Fair Debt Collection Practices Act (“FDCPA”), 15

         U.S.C. § 1692 et seq., and the Michigan Occupational Code

         (“MOC”), MCL 339.901 et seq.

   2.    Starting in April, 2016 UCB used its automated dialers to

         inundate Ms. Snyder with collection calls to her cell phone to

         collect on bills allegedly owed to UCB. In many of those calls,

         UCB used artificial or prerecorded messages. The use of this
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.2 Page 2 of 16




         technology in the placement of calls to Ms. Snyder was in

         violation of the TCPA.

   3.    The guiding principal of the TCPA is the need to protect the

         consumer from an invasion of privacy. See In the Matter of

         Rules and Regulations Implementing the Telephone Consumer

         Protection Act of 1999, F.C.C. 07-232, 23 F.C.C.R. 559 ¶ 2(Dec.

         28, 2007; released Jan. 4, 2008). FCC citing the Congressional

         purpose.

   4.    A predictive dialer constitutes an automatic telephone dialing

         system within the meaning of the TCPA. 23 F.C.C. R. 559,

         566, ¶ 12 & 13. In that Ruling, for a second time the FCC

         rejected the position that a predictive dialer only meets the

         definition of an ATDS when it randomly or sequentially

         generates numbers. Rather, it stated “In this Declaratory

         Ruling, we affirm that a predictive dialer constitutes an

         automatic telephone system and is subject to the TCPA’s

         restrictions on the use of autodialers.” 23 F.C.C. R. 559, 566

         ¶12.
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.3 Page 3 of 16




   5.    The FDCPA was, in part, enacted to address invasions of

         individual privacy caused by abusive debt collection practices.

         15 U.S.C. § 1692(a).

   6.    “If the FDCPA makes one thing clear, it is that debt

         collectors must be circumspect in the way they choose to

         communicate with debtors. This is a highly regulated

         industry, and strict compliance is the order of the day.”

         Thompke v Fabrizio & Brook, PC, 261 F Supp 3d 798 (E.D.

         Mich, 2017).

   7.    Plaintiff Victoria Snyder brings this action to enforce the

         TCPA’s strict limits on calls placed through automated

         telephone   dialing    systems   (“ATDS”).    Plaintiff   seeks

         statutorily-authorized damages of $500-$1500 per illegal call,

         as well as injunctive relief requiring Defendant to comply with

         the law.

                     JURISDICTION AND VENUE

   8.    Jurisdiction of this Court arises under 47 U.S.C. § 227, 28

         U.S.C. §§ 1331, 1337, 1637, and 15 U.S.C. § 1692k(d).
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.4 Page 4 of 16




   9.    The acts and occurrences arose in this District. Plaintiff at all

         relevant times resided in Ionia County, Ottawa County, and

         Muskegon County, and Defendant transacts business in Ionia,

         Muskegon, and Ottawa Counties.

                                   PARTIES

   10.   Plaintiff, Victoria Snyder (“Ms. Snyder”) is a natural person

         who resides in the County of Muskegon, State of Michigan.

   11.   At all times relevant to this Complaint, Plaintiff was and is a

         “person” as defined by 47 U.S.C. § 153(39).

   12.   Plaintiff is a person affected by a violation of the FDCPA with

         standing to bring this claim under 15 U.S.C. § 1692k(a).

   13.   Ms. Snyder is a “consumer” as defined by M.C.L. §

         339.901(1)(f).

   14.   Defendant, United Collection Bureau, Inc., (“UCB”), is a

         foreign corporation.

   15.   Defendant UCB uses at least one instrumentality of interstate

         commerce or the mails in any business the principal purpose

         of which is the collection of any debts.
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.5 Page 5 of 16




   16.   Defendant UCB regularly collects or attempts to collect,

         directly or indirectly, debts owed or due or asserted to be owed

         or due another.

   17.   Defendant UCB is a “debt collector” as that term is defined by

         15 U.S.C. § 1692a(6).

   18.   UCB is a “collection agency” as defined by M.C.L. § 339.901(b).

   19.   At all times relevant to this Complaint, UCB was and is a

         “person” as defined by 47 U.S.C. § 153(39).

   20.   At all relevant times to this Complaint, Ms. Snyder’s cell

         phone, the phone number ending in 8412, was and is a number

         assigned to a cellular telephone service 47 U.S.C. §

         227(b)(1)(A)(iii).

   21.   At all times relevant to this Complaint, UCB has owned,

         operated, and or controlled “customer premises equipment” as

         defined by the TCPA 47 U.S.C. § 153(16) that originated,

         routed, and/or terminated telecommunications.

   22.   UCB at all times relevant to the Complaint herein engaged in

         “telecommunications” defined at 47 U.S.C. § 153(50).
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.6 Page 6 of 16




   23.   UCB at all times relevant to the Complaint herein engaged in

         “interstate communications” at 47 U.S.C. § 153(28).

   24.   At all times relevant to this Complaint, UCB has used,

         controlled, and/or operated “wire communications” as defined

         at 47 U.S.C. § 153(59), that existed as instrumentalities of

         interstate and intrastate commerce.

   25.   At all times relevant to this Complaint, UCB has used,

         controlled, and/or operated “automatic telephone dialing

         systems” as defined at 47 U.S.C. § 227(a)(1) and 47 C.F.R.

         64.1200(f)(1).

                      GENERAL ALLEGATIONS

   26.    Ms. Snyder maintains a cell phone in order to maintain

          personal contacts with family, friends, and as a device

          through which she can seek emergency help.

   27.    The service for her cell phone is provided via a “cellular

          telephone       service”   as   described   at   47   U.S.C.   §

          227(b)(1)(A)(iii).
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.7 Page 7 of 16




   28.    Sometime prior to April 1, 2016, upon information and

          belief, Plaintiff’s ex-boyfriend, Cory Thelen, incurred a

          financial obligation that was primarily for personal, family

          or household purposes (“the Debt”).

   29.    Upon information and belief, Mr. Thelen defaulted on the

          Debt.

   30.    Upon information and belief, the Debt was a consumer debt

          related to medical services.

   31.    Sometime after default, the Debt was assigned, sold,

          conveyed, delivered, consigned, placed, or otherwise

          transferred to Defendant UCB for collection.

   32.    At all times relevant to this Complaint, UCB’s phone calls

          to Ms. Snyder’s cellular phone were made in furtherance of

          its effort to collect the Debt.

   33.    The Debt is a “debt” as that term is defined by 15 U.S.C. §

          1692a(5).

   34.    The Debt is a “debt” as that term is defined by MCL

          339.901(1)(a).
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.8 Page 8 of 16




   35.    The Debt is a “claim” as that term is defined by MCL

          339.901(1)(a).

   36.    Ms. Snyder does not have any business relationship with

          UCB, or any connection to UCB.

   37.    Ms. Snyder did not owe any money to UCB.

   38.    In or around April 2016, UCB began calling Ms. Snyder on

          her cell phone regarding the Debt.

   39.    During these calls there would be an automatic or pre-

          recorded message that stated, “If this is Corey Michael

          Thelen, stay on the line. This is a collection agency” or

          words to that effect.

   40.    Corey Michael Thelen is Ms. Snyder’s ex-boyfriend.

   41.    Since April 2016, UCB has called Ms. Snyder multiple times

          in a week and on occasion, multiple times in a day, at times,

          calling before 8:00 am.

   42.    Through    the    numerous    calls,   caller   identification

          information of “416” and “(800)333-7729,” and UCB’s

          messages, Ms. Snyder was able to determine that UCB was
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.9 Page 9 of 16




          calling to collect on a debt that was not hers.

   43.    At all times material and relevant hereto, UCB used,

          controlled and/or operated “automatic telephone dialing

          systems” as defined by the TCPA, 47 U.S.C. § 227 (a)(1) and

          47 C.F.R. 64.1200(f)(1).

   44.    UCB placed these calls using an automatic telephone

          dialing system.

   45.    The calls by UCB to Ms. Snyder’s cell phone used one or

          more prerecorded messages.

   46.    Ms. Snyder did not give UCB permission to call her cell

          phone.

    47.   On multiple occasions Ms. Snyder remained on the line to a

          tell a UCB representative that she did not owe them any

          money, but there was no option to do so.

    48.   UCB continued to place calls to Ms. Snyder using its

          automatic telephone dialing system.

    49.   UCB uses its ATDS to contact a large number of people to

          collect, or attempt to collect, debts.
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.10 Page 10 of 16




     50.   UCB leaves pre-recorded messages to convey information to

           the recipients of its calls.

     51.   The purpose of each call to Ms. Snyder’s cell phone was to

           attempt to collect a debt.

     52.   The purpose of each message left on Ms. Snyder’s cell phone

           was to attempt to collect a debt.

     53.   UCB did not make any calls to Ms. Snyder’s cell phone for

           any emergency purpose.

     54.   The placement of unconsented calls to Ms. Snyder’s cell

           phone using the prohibited technology under the TCPA,

           constitutes a harassing, oppressive or abusive method of

           collection, in violation of M.C.L. § 339.915(n).

     55.   The calls from UCB caused Ms. Snyder numerous

           interruptions, disruptions, caused wear and tear on her

           cellular telephone, impaired her ability to make or receive

           calls, and caused the loss of power to her cellular telephone.

     56.   In addition, hearing the prerecorded messages which left

           Ms. Snyder’s ex-boyfriend’s name, has caused her emotional
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.11 Page 11 of 16




           distress.

     57.   As a result of UCB wrongful conduct, Ms. Snyder has

           suffered damages.

     58.   Plaintiff has suffered an injury in fact traceable to UCB’s

           conduct that is likely to be redressed by a favorable decision

           in this matter.

                           CAUSES OF ACTION

                             COUNT I.
                    VIOLATIONS OF TELEPHONE
                    CONSUMER PROTECTION ACT
                         47 U.S.C. § 227 et seq.

     59.   Plaintiff incorporates by reference all of the above

           paragraphs of this Complaint as though fully stated herein.

     60.   UCB has negligently violated the TCPA, 47 U.S.C. § 227 et

           seq., including, but not limited to 47 U.S.C. § 227(b)(1)(B),

           and § 227(b)(1)(A)(iii), in relation to Ms. Snyder.

     61.   As a result of UCB’s negligent violations of the TCPA, Ms.

           Snyder may recover statutory damages of $500.00 for each

           and every call in violation of the statute.
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.12 Page 12 of 16




     62.   Alternatively, UCB has knowingly or willfully violated the

           TCPA in relation to Ms. Snyder.

     63.   As a result of UCB’s willful violations of the TCPA, Ms.

           Snyder may recover statutory damages of up to $1,500.00

           per call in violation of the statute.

                            COUNT II.
                      VIOLATIONS OF THE
             FAIR DEBT COLLECTION PRACTICES ACT
                      15 U.S.C. § 1692 et seq.

     64.   Plaintiff incorporates by reference all of the above

           paragraphs of this Complaint as though fully stated herein.

     65.   UCB’s actions in attempting to collect the alleged debt owed

           by Mr. Thelen violated the FDCPA, including, but not limited

           to 15 U.S.C. §§ 1692c(a)(1), 1692d, 1692d(5) and 1692f.

                              COUNT III.
                         VIOLATIONS OF THE
                     THE MICHIGAN OCCUPATIONAL
                       CODE, M.C.L. § 339.901 et seq.

     66.   Ms. Snyder incorporates the preceding allegations by

           reference.
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.13 Page 13 of 16




     67.   UCB’s actions in attempting to collect the alleged debt owed

           by Mr. Thelen violated the MOC, including, but not limited to,

           M.C.L. § 339.915 (n) and (q).

     68.   Ms. Snyder has suffered damages as a result of these

           violations of the MOC.

     69.   UCB’s violations of the MOC were willful.

                          RELIEF REQUESTED

           WHEREFORE, Plaintiff prays that judgment be entered

     against Defendant as follows:

           A. Under the TCPA, an award to Plaintiff, as allowed by law

              for:

                i.   a declaration that USB violated the TCPA;

               ii.   statutory damages of $500.00 per call pursuant to 47

                     U.S.C. § 227(b)(3)(B) against UCB;

              iii.   treble damages of $1,500.00 per call pursuant to 47

                     U.S.C. § 227(b)(3) against UCB; and
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.14 Page 14 of 16




              iv.    an injunction prohibiting UCB from contacting Ms.

                     Snyder using an automated dialing system pursuant

                     to 47 U.S.C. § 227(b)(3)(A).

          B. Under the FDCPA, an award to Plaintiff, as allowed by law

             for:

                i.   actual   damages     pursuant   to   15   U.S.C.   §

                     1692k(a)(1);

              ii.    statutory damages in an amount up to $1,000.00

                     pursuant to 15 U.S.C. § 1692k(a)(2)(A); and

              iii.   reasonable attorney’s fees and costs pursuant to 15

                     U.S.C. § 1692k(a)(3), from Defendant UCB.

          C. Under the MOC, an award to Plaintiff, as allowed by law

             for:

                i.   actual damages pursuant to M.C.L. § 339.916(2);

              ii.    treble damages pursuant to M.C.L. § 339.916(2); and

              iii.   reasonable attorney’s fees and court costs pursuant

                     to M.C.L. § 339.916(2).
Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.15 Page 15 of 16




          D. Other such relief this Court deems necessary, just, and

             proper.

                                      Respectfully submitted,

                                      GOLDEN LAW OFFICES, P.C.

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Case 1:18-cv-00018-PLM-RSK ECF No. 1 filed 01/06/18 PageID.16 Page 16 of 16




                            JURY DEMAND

          Plaintiff is entitled to and hereby respectfully demands a

     trial by jury on all issues so triable.   US Const. amend. 7.

     Fed.R.Civ.P. 38.

                                      Respectfully submitted,

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